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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

CASE NO. 08-80736-CIV-MARRA

JANE DOE #1 and JANE DOE #2, LA

petitioners, FILED by Me D.C.

 

 

 

 

 

VS. JUN 18 2013
UNITED STATES OF AMERICA, CLERKU.S DIST cr
S._D. of FLA —W.PB.
respondent.
/
OMNIBUS ORDER

THIS CAUSE is before the court on various motions.

Upon consideration, it is ORDERED AND ADJUDGED:

1. The petitioners’ protective motion seeking recognition of the availability of various
remedies attaching to the CVRA violations alleged in this proceeding [DE 128] is DENIED
WITHOUT PREJUDICE to renew the request for any particular form of relief or remedy in
connection with the court’s final disposition of petitioners’ CVRA petition on the merits.

2. The intervenors’ motion to strike the petitioners’ supplemental authority regarding
privilege claams [DE 177] is DENIED AS MOOT.

3. The petitioners’ sealed motion for the court to deny the government’s motion to dismiss
based on existing pleadings, or alternatively, for leave to file a sur-reply [DE 152] is DENIED AS

MOOT.
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3. The petitioners’ motion to compel discovery from the government [DE 130] is
GRANTED. Within THIRTY (30) DAYS from the date of entry of this order, the government
shall:

a. File answers to all outstanding requests for admissions in the open court file;

b. Produce responsive documents in response to all outstanding requests for production of
documents encompassing any documentary material exchanged by or between the federal
government and persons or entities outside the federal government (including without limitation all
correspondence generated by or between the federal government and Epstein’s attorneys), and

c. Produce all other responsive documents in response to all outstanding requests for
production of documents. To the extent any claim of privilege is asserted in connection with the
production of any documents falling within this broader category of materials only (i.e. materials
other than communications generated between the federal government and outside persons or
entities), the government shall further:

(i) contemporaneously file and serve, in the public portion of the court file, a privilege log
clearly identifying each documents by author(s), addressee(s), recipient (s), date, and general subject
matter and such other identifying data as required under Fed. R. Civ. P. 26.1 (g), and

(ii) contemporaneously submit all responsive documents withheld on claim of privilege to
the court for in camera inspection by submitting the same for filing with the court under seal.

As to any documents falling into this broader category of materials (identified in 3.c.), and
as to which the government has asserted claim of privilege with accompanying privilege log,
petitioners shall have THIRTY (30) DAYS after service of the privilege log within which to file

motion to compel contesting any asserted privilege claim, limited to SEVEN (7) PAGES in length,
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and the government shall thereafter have FIFTEEN (15) DAYS after service of the petitioners’s
motion motion to file its response, if any, limited to SEVEN (7) PAGES in length. No further
submissions on asserted privilege claims shall be entertained without the express invitation of the
court.

DONE AND ORDERED in Chambers at West Palm Beach, Florida this 18" day of June,

2013.

LE

Kenneth A. Marra
United States District Judge

 

 

 

cc. All counsel
— SEALED

 

Yor SEALED

 

 
